               Case
     Fill in this      3:14-bk-33800
                  information                  Doc
                              to identify the case:         62     Filed 08/11/18 Entered 08/11/18 10:20:48                                    Desc Main
                                                                   Document     Page 1 of 5

   Debtor 1          George Michael Slater
   Debtor 2          Lisa Marie Slater

   United States Bankruptcy Court for the:   Southern District of Ohio, Dayton Division               District of       OH
                                                                                                                        (State)

   Case Number                  14-33800



Official Form 410S1
                                                                                                                                                      12/15
Notice of Mortgage Payment Change
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your
proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of Creditor:                                                                          Court claim no. (if known):                8-1
US Bank Trust National Association as trustee of the Chalet Series III Trust


                                                                                           Date of payment change:                                  09/01/2018
                                                                                           Must be at least 21 days after date of
                                                                                           this notice

Last four digits of any number you use to identify the
debtor’s account:                                                  3991                    New total payment:                                         $1,050.41
                                                                                           Principal, interest, and escrow, if any



Part 1: Escrow Account Payment Adjustment
1. Will there be a change in the debtor’s escrow account payment?
        No
        Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
                 basis for the change. If a statement is not attached, explain why: ________________________________________________________
                 Current escrow payment:                         $263.03            New escrow payment:                              $256.46
Part 2: Mortgage Payment Adjustment
2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-rate account?
        No
        Yes      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why: ________________________________________________________________________________________

                 Current interest rate:                                                           New interest rate:
                 Current principal and interest payment:                                          New principal and interest payment:

Part 3: Other Payment Change
3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

       No
       Yes      Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change: ________________________________________________________________________________________
                Current mortgage payment:                         New mortgage payment:




Official Form 410S1                              Notice of Mortgage Payment Change                                                                  page         1
    Debtor 1
               CaseGeorge Michael Slater
                    3:14-bk-33800                  Debtor 2 Lisa Marie Slater
                                                   Doc   62 Filed 08/11/18 Case Entered   08/11/18
                                                                                   Number (if known) 10:20:48
                                                                                                     14-33800                    Desc Main
                          First Name      Middle Name       LastDocument
                                                                 Name         Page 2 of 5




Part 4: Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box.

      I am the creditor

      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

 /s/ Elizabeth Lewis                                                                      Date     8/11/18
 Signature



 Print                    Elizabeth Lewis                                                 Title   Bankruptcy Case Manager

 Company                  Shellpoint Mortgage Servicing

 Address                  PO Box 10826


                          Greenville                                      SC                 29603-0826


 Contact phone            (800) 365-7107                                          Email     mtgbk@shellpointmtg.com




Official Form 410S1                               Notice of Mortgage Payment Change                                                      page   2
             Case 3:14-bk-33800                                 Doc   62 Mortgage
                                                                  Shellpoint    Filed   08/11/18 Entered 08/11/18 10:20:48
                                                                                    Servicing                          Final                                                      Desc Main
                                                                                Document
                                                                  55 Beattie Place             Page 3 of 5
                                                                     Suite 110
                                                                     Greenville, SC 29601
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                      Analysis Date:                                           July 12, 2018
        GEORGE M SLATER                                                                                                               Loan:
        6248 Fireside Dr                                                                                                              Property Address:
        Mason OH 45040                                                                                                                6248 Fireside Dr
                                                                                                                                      Mason, OH 45040




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual           Effective Sep 01, 2018          Prior Esc Pmt                  March 01, 2018          Escrow Balance Calculation

P & I Pmt:                           $793.95                          $793.95          P & I Pmt:                            $793.95          Due Date:                                          Jul 01, 2018
Escrow Pmt:                          $263.03                          $256.46          Escrow Pmt:                           $263.03          Escrow Balance:                                        $764.37
Other Funds Pmt:                       $0.00                            $0.00          Other Funds Pmt:                        $0.00          Anticipated Pmts to Escrow:                            $526.06
Asst. Pmt (-):                         $0.00                            $0.00          Asst. Pmt (-):                          $0.00          Anticipated Pmts from Escrow (-):                        $0.00
Reserve Acct Pmt:                      $0.00                            $0.00          Resrv Acct Pmt:                         $0.00

Total Payment:                     $1,056.98                         $1,050.41         Total Payment:                       $1,056.98         Anticipated Escrow Balance:                         $1,290.43


Shortage/Overage Information                                     Effective Sep 01, 2018           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                  amounts or insurance premiums, your escrow balance contains a cushion of $512.92.
Upcoming Total Annual Bills                                                      $3,077.50
Required Cushion                                                                                  A cushion is an additional amount of funds held in your escrow in order to prevent the
                                                                                  $512.92
Required Starting Balance                                                          $769.36        balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                                      $0.00        occurs. Your lowest monthly balance should not be below $512.92 or 1/6 of the
Surplus                                                                            $521.07        anticipated payment from the account.



      This is a statement of actual activity in your escrow account from Oct 2017 to Aug 2018. Last year's anticipated activity (payments to and from your
      escrow account) is next to the actual activity.
                              Payments to Escrow                          Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                     Description                       Required               Actual
                                                                                                                   Starting Balance                           $1,052.17            ($915.08)
        Oct 2017                     $263.03              $531.04                                              *                                              $1,315.20            ($384.04)
        Nov 2017                     $263.03              $531.04                                              *                                              $1,578.23             $147.00
        Dec 2017                     $263.03             $1,062.08                                             *                                              $1,841.26           $1,209.08
        Jan 2018                     $263.03              $265.52                                              *                                              $2,104.29           $1,474.60
        Jan 2018                                                                                     $1,113.75 *   County Tax                                 $2,104.29             $360.85
        Feb 2018                     $263.03               $263.03            $1,147.20                        *   County Tax                                 $1,220.12             $623.88
        Feb 2018                                                                                      $850.00 *    Hazard                                     $1,220.12            ($226.12)
        Mar 2018                     $263.03               $526.06                $862.00                      *   Hazard                                      $621.15              $299.94
        Apr 2018                     $263.03               $263.03                                                                                             $884.18              $562.97
        May 2018                     $263.03               $263.03                                                                                            $1,147.21             $826.00
        Jun 2018                     $263.03               $526.06                                             *                                              $1,410.24           $1,352.06
        Jun 2018                                                                                     $1,113.75 * County Tax                                   $1,410.24             $238.31
        Jul 2018                     $263.03               $526.06            $1,147.20                        * County Tax                                    $526.07              $764.37
        Aug 2018                     $263.03                                                                   *                                               $789.10              $764.37
                                                                                                                 Anticipated Transactions                      $789.10              $764.37
        Jul 2018                                          $263.03 P                                                                                                               $1,027.40
        Aug 2018                                          $263.03 P                                                                                                               $1,290.43
                                   $2,893.33             $5,283.01            $3,156.40              $3,077.50
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.
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                                                                               Servicing                          Final                                              Desc Main
                                                          For Inquiries:Document
                                                                        (800) 365-7107    Page 4 of 5
                                                                                                                             Analysis Date:                                             July 12, 2018
                                                                                                                             Loan:


                                                    Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                      Anticipated Payments                                                                                                    Escrow Balance
                               To Escrow          From Escrow                       Description                                               Anticipated                Required
                                                                                    Starting Balance                                             $1,290.43                   $769.36
   Sep 2018                         $256.46                                                                                                      $1,546.89                  $1,025.82
   Oct 2018                         $256.46                                                                                                      $1,803.35                  $1,282.28
   Nov 2018                         $256.46                                                                                                      $2,059.81                  $1,538.74
   Dec 2018                         $256.46                                                                                                      $2,316.27                  $1,795.20
   Jan 2019                         $256.46                                                                                                      $2,572.73                  $2,051.66
   Feb 2019                         $256.46             $1,113.75                   County Tax                                                   $1,715.44                  $1,194.37
   Mar 2019                         $256.46              $850.00                    Hazard                                                       $1,121.90                   $600.83
   Apr 2019                         $256.46                                                                                                      $1,378.36                   $857.29
   May 2019                         $256.46                                                                                                      $1,634.82                  $1,113.75
   Jun 2019                         $256.46                                                                                                      $1,891.28                  $1,370.21
   Jul 2019                         $256.46             $1,113.75                   County Tax                                                   $1,033.99                   $512.92
   Aug 2019                         $256.46                                                                                                      $1,290.45                   $769.38
                                  $3,077.52             $3,077.50
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is $1,290.43. Your starting
 balance (escrow balance required) according to this analysis should be $769.36. This means you have a surplus of $521.07.
 This surplus must be returned to you unless it is less than $50.00, in which case we have the additional option of keeping
 it and lowering your monthly payments accordingly. We are sending you a check for the surplus.



 The attached check is not a valid check, a check will be mailed within 30 days from the date of the analysis if your loan is current.

 We anticipate the total of your coming year bills to be $3,077.50. We divide that amount by the number of payments expected during the coming year
 to obtain your escrow payment.
   New Escrow Payment Calculation

   Unadjusted Escrow Payment                                                  $256.46
   Surplus Reduction:                                                           $0.00
   Shortage Installment:                                                        $0.00
   Rounding Adjustment Amount:                                                  $0.00

   Escrow Payment:                                                            $256.46

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.


Detach Here

                                                    Shellpoint Mortgage Servicing
                                                    55 Beattie Place
                                                    Suite 110
                                                    Greenville, SC 29601
                                                    (800) 365-7107




   PAY TO THE
                               GEORGE M SLATER                                                                                                                                      $521.07
   ORDER OF

                                           NOT INTENDED FOR USE  FIVE HUNDRED TWENTY-ONE AND 07 / 100                                                                               DOLLARS


                                               SAMPLE ONLY
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Shellpoint Mortgage Servicing                              Phone Number:            (800) 365-7107
PO Box 10826                                               Fax:                     (866) 467-1137
                                                           Email: mtgbk@shellpointmtg.com
Greenville, SC 29603-0826



RE: Debtor 1 George Michael Slater
    Debtor 2 Lisa Marie Slater
Case No:    14-33800
PROOF OF SERVICE
I certify that a copy of the foregoing documents were served upon the following persons electronically or by mail via the U.S. Postal
Service, postage prepaid or by personal delivery, at their scheduled addresses on this day, 8/11/18.

Southern District of Ohio, Dayton Division
120 West Third Street
Dayton, OH 45402-1819



Jeffrey M Kellner
131 N Ludlow St
Suite 900
Dayton, OH 45402


Harold Jarnicki
576 Mound Court Ste B
Lebanon, OH 45036-



George Michael Slater
Lisa Marie Slater
6248 Fireside Dr
Mason OH 45040



/s/ Elizabeth Lewis
